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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

CONSTANTIN LAND TRUST                               * CIVIL ACTION NO.: 12-CV-00179
                                                    *
versus                                              * JUDGE KURT ENGELHARDT
                                                    *
BP AMERICA PRODUCTION COMPANY,                      * MAGISTRATE ALMA CHASEZ
BP EXPLORATION & PRODUCTION,                        *
SEA SUPPORT SERVICES, L.L.C. AND                    *
RANDY J. ADAMS                                      *
***************************************             *

                                 NOTICE OF SUBMISSION

         NOTICE IS HEREBY GIVEN that the Motion to Remand filed by Constantin Land

Trust will be brought for hearing before the Honorable Kurt Engelhardt, United States District

Judge, at the United States Courthouse, 500 Poydras Street, New Orleans, LA 70130, on the 22nd

day of February 2012 at 9:30 a.m., or as soon thereafter as counsel may be heard.

                                     Respectfully submitted,

                                     REICH, ALBUM & PLUNKETT, L.L.C.

                                     /S/ ROBERT S. REICH
                                     ROBERT S. REICH (#11163)
                                     ROBERT B. ACOMB III (#02303
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                                     Attorney for Plaintiff, Constantin Land Trust




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the above and foregoing has been served upon all

counsel of record by hand delivery, electronic delivery, facsimile transmission, or by placing

same in the U. S. Mail, postage prepaid, this 27th day of February 2012.



                                     /S/ ROBERT S. REICH
